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12
                                     UNITED STATES DISTRICT COURT
13
                                   NORTHERN DISTRICT OF CALIFORNIA
14
                                              OAKLAND DIVISION
15
     UNITED STATES OF AMERICA,                       )   NO. 23-CR-00269 JSW
16                                                   )
             Plaintiff,                              )   ORDER GRANTING LEAVE TO DISMISS
17                                                   )   NOTICE OF DISMISSAL OF COUNT THREE
        v.                                           )
18                                                   )
     MORTEZA AMIRI and                               )   Re: Dkt. No. 310
19   DEVON CHRISTOPHER WENGER,                       )
                                                     )
20           Defendants.                             )
                                                     )
21

22           With leave of the Court, and pursuant to Federal Rule of Criminal Procedure 48(a), the United
23 States Attorney for the Northern District of California dismisses Count Three of the above indictment.

24 DATED: February 17, 2025                                     Respectfully submitted,
25                                                              PATRICK D. ROBBINS
                                                                Acting United States Attorney
26

27                                                               /s/ for Martha Boersch
                                                                MARTHA BOERSCH
28                                                              Chief, Criminal Division

     NOTICE OF DISMISSAL OF COUNT 3
     No. 23-CR-00269-JSW                                                                      v. 8/4/2021
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 2        Leave is granted to the government to dismiss Count Three of the indictment.

 3

 4 Date: February 18, 2025
                                                             HON. JEFFREY S. WHITE
 5                                                           United States District Judge

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     NOTICE OF DISMISSAL OF COUNT 3
     No. 23-CR-00269-JSW                                                                    v. 8/4/2021
